                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


Food Lion, LLC, and Maryland and
Virginia Milk Producers Cooperative
Association, Inc.,

                    Plaintiffs,
                                               Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                    Defendant.


     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO MOTION TO DISMISS


HUNTON ANDREWS KURTH LLP                        TROUTMAN PEPPER HAMILTON
                                                SANDERS LLP
A. Todd Brown, Sr., N.C. State Bar No. 13806
Ryan G. Rich, N.C. State Bar No. 37015          Jason D. Evans, N.C. State Bar No. 27808
101 South Tryon Street, Suite 3500              301 S. College Street, 34th Floor
Charlotte, North Carolina 28280                 Charlotte, NC 28202
Telephone: (704) 378-4700                       Telephone: (704) 916-1502
tbrown@huntonak.com                             jason.evans@troutman.com
rrich@huntonak.com
                                                James A. Lamberth (admitted pro hac vice)
Ryan P. Phair (admitted pro hac vice)           600 Peachtree Street, NE, Suite 3000
John S. Martin (admitted pro hac vice)          Atlanta, GA 30308
Kevin Hahm (admitted pro hac vice)              Telephone: (404) 885-3362
Carter C. Simpson (admitted pro hac vice)       james.lamberth@troutman.com
2200 Pennsylvania Avenue, NW
Washington, DC 20037                            Attorneys for Maryland and Virginia Milk
Telephone: (202) 955-1500                       Producers Cooperative Association, Inc.
rphair@huntonak.com
martinj@huntonak.com
khahm@huntonak.com
csimpson@ huntonak.com

Attorneys for Food Lion, LLC




      Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 1 of 26
                                             TABLE OF CONTENTS

INTRODUCTION ............................................................................................................... 1
ARGUMENT....................................................................................................................... 2
I.       PLAINTIFFS’ ALLEGATIONS OF THREATENED INJURY ARE MORE
         THAN SUFFICIENT UNDER SECTION 16 OF THE CLAYTON ACT. ............ 2
         A.        The Clayton Act Is Designed to Stop Anti-Competitive Acquisitions in
                   Their Incipiency. ........................................................................................... 3
         B.        DFA Improperly Conflates the Antitrust Injury Standards for Damages
                   and Injunctive Actions................................................................................... 4
         C.        Plaintiffs Adequately Allege Antitrust Injury Under Section 16. ................. 6
                   1.        Plaintiffs sufficiently pled that MDVA has been foreclosed and
                             that such foreclosure is made permanent by the Asset Sale. ............. 7
                   2.        Plaintiffs sufficiently pled a significant threat of Food Lion
                             being forced to incur higher prices because of the Asset Sale. .......... 9
         D.        DFA’s Antitrust Injury Arguments Would Render the Clayton Act
                   Useless. ........................................................................................................ 11
II.      DFA’S GENERALIZED ATTACKS ON VERTICAL MERGER
         CHALLENGES HAVE NO PLACE IN A RULE 12(b) MOTION. ..................... 12
III.     “FAILING COMPANY” IS AN AFFIRMATIVE DEFENSE THAT IS NOT
         SUITABLE FOR DETERMINATION ON THE PLEADINGS. .......................... 14
IV.      PLAINTIFFS ALLEGE A PLAUSIBLE GEOGRAPHIC MARKET. ................. 18
CONCLUSION ................................................................................................................. 22




                                                               -2-



       Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 2 of 26
                                   INTRODUCTION

       On May 19, 2020, Plaintiffs Maryland and Virginia Milk Producers Cooperative

Association, Inc. (“MDVA”) and Food Lion, LLC filed a Complaint under Section 16 of

the Clayton Act alleging that Defendant Dairy Farmers of America, Inc. (“DFA”)’s

continuing course of anti-competitive conduct, including its acquisition of three Dean

Foods processing plants in North and South Carolina (the “Carolinas plants”) out of

bankruptcy, violates the antitrust laws. At an initial June 4th hearing, DFA requested the

opportunity to provide a “quick peek” of its defenses through a motion to dismiss before

proceeding in earnest on Plaintiffs’ request for expedited discovery and preliminary

relief. The Court refused DFA’s offer to slow the progress of the case, but did afford

DFA the opportunity to present its arguments for dismissal. DFA has now done so, and

its motion confirms that DFA lacks any viable argument for dismissal.

       First, DFA conjures up a new argument not previously mentioned in its papers or

at the hearing—antitrust injury—as a way to insulate the Asset Sale from antitrust

scrutiny. But DFA’s argument badly confuses the relevant legal standards and, if

accepted, would turn the Clayton Act on its head. It also ignores controlling Supreme

Court precedent directly on point, Brown Shoe Co. v. United States, 370 U.S. 294 (1962),

as well as numerous detailed allegations in the Complaint establishing the actual injury

already incurred by DFA’s conduct and the future injury that will result if this conduct is

not arrested in its incipiency.

       DFA then turns to its “failing company” defense and market definition arguments.

Both foreshadow what DFA will argue at trial, but are premature here. Each argument




     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 3 of 26
necessarily requires consideration of significant, complex factual and legal issues for

which discovery and expert testimony will be necessary. It is well established that

neither should be resolved on a motion to dismiss. Indeed, as to its previously

ballyhooed “failing company” defense, DFA remains unable to point to a single case in

which this defense has been established on a motion to dismiss.

       The inescapable reality is that the Clayton Act was designed for precisely this

situation, and the only way to resolve the issues presented by DFA is through a trial on

the merits. With the benefit of discovery, expert opinions, and trial testimony, the Court

will be able to make a judgment based on a fully developed record instead of abstract

arguments. At the Court’s urging, the parties have now agreed upon an expedited

discovery schedule and a consolidated Rule 65(a)(2) proceeding. Plaintiffs respectfully

suggest that this is where the parties’ efforts should now be focused.

                                       ARGUMENT

I.     PLAINTIFFS’ ALLEGATIONS OF THREATENED INJURY ARE MORE
       THAN SUFFICIENT UNDER SECTION 16 OF THE CLAYTON ACT.

       The primary argument advanced by DFA in support of its motion to dismiss is that

Plaintiffs’ claims of antitrust injury are speculative because they allege anti-competitive

effects that “might” happen in the future. ECF No. 31 (“Br.”), at 1. This argument seems

to have been manufactured only recently, as it was not included in DFA’s claimed

“threshold legal issues” that needed to be addressed before expedited discovery could be

ordered. 1 Its conspicuous prior absence was for good reason. As explained below,


       1
           See ECF No. 25, DFA Resp. to Mot. for Expedited Disc., at 8-13.
                                            -2-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 4 of 26
DFA’s argument ignores fundamental principles of antitrust law and is an apparent

attempt to insulate the Asset Sale from antitrust scrutiny entirely.

       A. The Clayton Act Is Designed to Stop Anti-Competitive Acquisitions in
          Their Incipiency.

       Count I asserts a claim under Section 16 of the Clayton Act to enjoin DFA from

violating Section 7 of the Clayton Act, which prohibits mergers and acquisitions whose

effect “may be substantially to lessen competition, or to tend to create a monopoly.”

California v. Am. Stores Co., 485 U.S. 271, 284 (1990) (quoting 15 U.S.C. § 18)

(emphasis in opinion). The Supreme Court has repeatedly recognized that the use of the

words “may be” reflect Congress’ conscious decision to enact a prophylactic antitrust

statute. See Brunswick Corp. v. Pueblo Bowl-O-Mat, 429 U.S. 477, 485 (1977). Enacted

against the backdrop of “a rising tide of economic concentration in the American

economy,” Section 7 was designed to “clamp down with vigor” on anticompetitive

mergers to arrest “this rising tide towards concentration into too few hands and to halt the

gradual demise of ... small business[].” United States v. Von’s Grocery Co., 384 U.S.

270, 276 (1966). Congress accomplished this goal by empowering plaintiffs to use

Section 7 to “arrest[] mergers at a time when the trend to a lessening of competition …

was still in its incipiency” in order “to brake this force at its outset and before it gathered

momentum.” Brown Shoe, 370 U.S. at 317-18.

       By its nature, the “incipiency” doctrine is forward looking; it requires “a

prediction of [the acquisition’s] impact upon competitive conditions in the future.”

United States v. Phila. Nat’l Bank, 374 U.S. 321, 362 (1963). In other words, it


                                             -3-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 5 of 26
specifically protects against future injury that might occur. F.T.C. v. Procter & Gamble

Co., 386 U.S. 568, 577 (1967) (“there is certainly no requirement that the anticompetitive

power manifest itself in anticompetitive action before §7 can be called into play”).

Indeed, “[i]f the enforcement of § 7 turned on the existence of actual anticompetitive

practices,” as DFA contends, “the congressional policy of thwarting such practices in

their incipiency would be frustrated.” Id. at 577.

       Section 16 works in tandem with Section 7 and other antitrust laws, including the

Sherman Act, by extending the availability of injunctive relief to private parties for

“threatened” injury. 15 U.S.C. § 26; Zenith Radio Corp. v. Hazeltine Research, Inc., 395

U.S. 100, 130 (1969). By creating this private right of action, Congress intended to

“enlist the business public as private attorneys general to aid the government in achieving

the broad social object of the statute.” Cia. Petrolera Caribe, Inc. v. Arco Caribbean,

Inc., 754 F.2d 404, 415 (1st Cir. 1985). As with Section 7, Section 16 has a

“prophylactic purpose” and “is designed to stop anticompetitive behavior in its

incipiency.” Christian Schmidt Brewing Co. v. G. Heileman Brewing Co., 753 F.2d 1354,

1357-58 (6th Cir. 1985).

       B. DFA Improperly Conflates the Antitrust Injury Standards for Damages
          and Injunctive Actions.

       Plaintiffs are seeking only injunctive relief under Section 16 here to reverse and

arrest the anti-competitive effects of DFA’s past and future conduct, respectively. As

such, the prophylactic, “threatened injury” standard for injunctive relief under Section 16

applies to Plaintiffs’ claims under both Section 7 of the Clayton Act and Section 2 of the


                                            -4-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 6 of 26
Sherman Act. 2 Tellingly, DFA never acknowledges that Plaintiffs seek only injunctive

relief under Section 16, not damages under Section 4 of the Clayton Act. This distinction

matters because the injury requirements are dramatically different. See Cargill, Inc. v.

Monfort of Colo., 479 U.S. 104, 110-11 (1986); Hawaii v. Standard Oil Co. of Cal., 405

U.S. 251, 260 (1972). Indeed, courts have repeatedly recognized that there is “a lower

threshold standing requirement for Section 16 than for Section 4.” Schoenkopf v. Brown

& Williamson Tobacco Corp., 637 F.2d 205, 210 (3d Cir. 1980).

       A treble damages claim under Section 4 requires an “actual injury,” 15 U.S.C. §

15, which is what DFA criticizes Plaintiffs for not showing. 3 But a Section 16 claim for

injunctive relief requires only “a significant threat of injury,” Zenith Radio, 395 U.S. at

130, which is a “less stringent” requirement. In re New Motor Vehicles Can. Exp.

Antitrust Litig., 522 F.3d 6, 13 (1st Cir. 2008). The differing standards reflect Congress’

intent that injunctive relief serve as “a more flexible and adaptable tool for enforcing the

antitrust laws than the damage remedy.” B-S Steel of Kan. v. Tex. Indus., 439 F.3d 653,


       2
          While DFA treats its standing argument under Article III separately, it is more
properly viewed as encompassed by and built into the antitrust injury requirements under
the Clayton Act. See Novell, Inc. v. Microsoft Corp., 505 F.3d 302, 310 n.16 (4th Cir. 2007)
(“[T]he concept of antitrust standing [e.g. antitrust injury] is narrower than constitutional
standing. Harm to the antitrust plaintiff is sufficient to satisfy the constitutional standing
requirement of injury in fact.”). Regardless, as demonstrated below, the threatened injuries
alleged in the Complaint are more than sufficient to demonstrate both Article III standing
and antitrust injury.
        3
          DFA repeatedly characterizes Plaintiffs’ injuries as “speculative” because they
involve “allegations of future injury,” Br. at 7, but all Section 7 cases seeking injunctive
relief under Section 16 are predicated upon a court’s determination of the likelihood of
future harm, typically with the benefit of a full evidentiary record. See Phila. Nat’l Bank,
374 U.S. at 362. According to DFA, only an injury that has already resulted in damages
can violate antitrust law.
                                            -5-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 7 of 26
667 (10th Cir. 2006). As such, injunctive relief under Section 16 is “available even

though the plaintiff has not yet suffered actual injury.” Zenith Radio, 395 U.S. at 130.

       DFA is either confused by the different standards or attempting to conflate the two

for argument’s sake. In nearly five pages devoted to its antitrust injury argument, DFA

cites only one case discussing standing under Section 16 and, in that case, the court

rejected a similar attempt to conflate the standards for antitrust injury under the Clayton

Act. See B-S Steel, 439 F.3d at 666 (reversible error to apply Section 4 standing analysis

to Section 16 claim). Similarly, DFA’s heavy reliance upon Sureshot Golf Ventures v.

Topgolf Int’l, Inc., 754 F. App’x 235 (5th Cir. 2018), is misplaced. Sureshot involved a

Section 4 claim for damages, not a Section 16 claim for injunctive relief. DFA is left

without a single argument under the applicable legal standard, or a single citation to an

applicable Section 16 case, to support its motion.

       C. Plaintiffs Adequately Allege Antitrust Injury Under Section 16.

       Although there are a wide variety of recognized antitrust injuries, the classic type

in vertical merger and attempted monopolization cases is either the potential foreclosure

of competitors or higher prices paid by customers. As the Supreme Court recognized in

Brown Shoe, the “primary vice” of the type of conduct at issue here is foreclosure;

specifically, by foreclosing competitors from a segment of the market that otherwise

would be open to them, the conduct may act as a “clog on competition,” which

“depriv[es] rivals of a fair opportunity to compete.” 370 U.S. at 321 n.36, 323-24. 4


       4
        Foreclosure is also sufficient antitrust injury to support a violation of Section 2 of
the Sherman Act. United States v. Microsoft Corp., 253 F.3d 34, 70 (D.C. Cir. 2001) (a
                                            -6-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 8 of 26
Similarly, anti-competitive conduct that results in higher prices to customers is also a

paradigmatic example of antitrust injury. See U.S. Gypsum Co. v. Ind. Gas. Co., 350

F.3d 623, 627 (7th Cir. 2003). Plaintiffs have pled both types of threatened antitrust

injury in significant detail. See ECF No. 1 (“Compl.”), ¶¶114, 121, generally ¶¶97-151.

The facts supporting these claims are presumed true on a motion to dismiss and all

reasonable inferences are drawn in Plaintiffs’ favor. Nemet Chevrolet, Ltd. v.

Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009).

            1. Plaintiffs sufficiently pled that MDVA has been foreclosed and that such
               foreclosure is made permanent by the Asset Sale.

       The Complaint alleges not only that MDVA faces a significant threat of

foreclosure, but also that DFA has already foreclosed MDVA from access to the

Carolinas plants and thus 59% of the milk-processing market. Compl. ¶¶61-63, 70. The

Asset Sale serves to continue to foreclose MDVA and puts the final nail in the coffin by

making that foreclosure permanent. Id. ¶¶96, 101, 109-11. The Complaint alleges that,

consequently, MDVA is unlikely to survive as the sole regional competitor to DFA. Id.

¶¶139-40.

       The Complaint’s allegations of actual current foreclosure, presumed true on a

motion to dismiss, are alone sufficient to satisfy Section 16’s standing requirements. See

Zenith Radio, 395 U.S. at 143. As for MDVA’s additional claims about the threat of

continued and permanent foreclosure, the significance of this threat—called “customer




“monopolist’s use of exclusive contracts ... may give rise to a § 2 violation even though
the contracts foreclose less than [a] roughly 40% or 50% share”).
                                            -7-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 9 of 26
foreclosure” in antitrust parlance—is supported by numerous factual allegations,

including DFA’s prior actions in other regions (Compl. ¶112), its prior conduct with

respect to the Carolinas plants (id. ¶¶61-63), its intention in acquiring the Carolinas plants

(id. ¶¶88, 137), and the likelihood that the Asset Sale will further DFA’s existing anti-

competitive campaign (id. ¶147). See generally id. ¶¶97-148. Such allegations are

plainly sufficient to establish antitrust injury. See Zenith Radio, 395 U.S. at 130 (plaintiff

entitled to injunctive relief where future unlawful conduct could “fairly be anticipated

from the defendant’s conduct in the past”); Union Carbide Corp. v. Montell N.V., 944 F.

Supp. 1119, 1148-49 (S.D.N.Y. 1996) (competitor has standing to challenge proposed

merger based on defendants’ past actions).

       DFA claims this injury is “speculative” because it allegedly would not occur until

2021. Not true. As an initial matter, the Complaint alleges that, but for the Asset Sale,

MDVA would have been able to compete to supply the Carolinas plants as of May 1,

2020. 5 Compl. ¶¶105, 139. Moreover, DFA itself acknowledges that it acquired the

Carolinas plants to ensure an outlet for its members’ raw milk. Br. at 16. Having paid

hundreds of millions of dollars to acquire all forty-four Dean plants, including the

Carolinas plants, it defies logic to suggest that DFA would now allow its primary

competitor to source those plants instead. See Compl. ¶110. Far from being speculative,




       5
         Because Dean’s bankruptcy allowed it to sell the Carolinas plants free of any
obligations to DFA, Compl. ¶96, the Complaint alleges that any non-DFA purchaser would
have been free to make competitive raw-milk-purchasing decisions on the date the sale
closed. Id. ¶¶105, 139.
                                             -8-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 10 of 26
therefore, this is the unique case in which MDVA’s alleged injury is already being

inflicted and is almost certain to become permanent.

       DFA’s arguments cannot be squared with Supreme Court precedent. The seminal

case on vertical mergers is Brown Shoe, which DFA tellingly never mentions. There, the

Supreme Court condemned a vertical merger between a shoe manufacturer and the

nation’s largest independent shoe retailer because, in the future, the combined entity was

likely to foreclose other manufacturers from its retail stores. 370 U.S. at 331-32. This is

precisely the antitrust injury MDVA alleges.

           2. Plaintiffs sufficiently pled a significant threat of Food Lion incurring
              higher prices because of the Asset Sale.

       The Complaint also alleges that, because of the Asset Sale and related conduct,

Food Lion will incur higher prices, which consumers will ultimately feel at the retail

level. Compl. ¶¶142-43. The Asset Sale combines DFA’s market power over an input

(raw milk) with legacy Dean’s market power over a product made from that input

(processed milk). DFA therefore now has both the ability and incentive to engage in

“input” foreclosure in an attempt to raise its rivals’ costs in the processed milk market

where Food Lion procures its milk. Id. ¶¶99, 121-24. DFA can either raise raw milk

prices to processing plants competing with the legacy Dean plants, or refuse to sell to

competing plants altogether. Id. ¶143. 6 By raising its rivals’ costs, DFA will reduce or

eliminate competition, which will result in higher prices to customers like Food Lion. Id.


       6
         DFA argues that charging higher prices to downstream rivals would advantage
MDVA. Br. at 10. This ignores Plaintiffs’ allegations that MDVA has already been
foreclosed from the Carolinas plants, that its current “patchwork system” of selling its raw
                                            -9-



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 11 of 26
       The Complaint alleges that DFA will inevitably engage in such tactics because

excess capacity in the Carolinas plants ensures an outlet for any diverted DFA milk, and

any profits that DFA would lose by not selling its milk to rivals could be more than offset

by the higher prices it can charge customers because of decreased competition. Id.

¶¶122, 126. While DFA may dispute these allegations, a motion to dismiss is not the

proper vehicle for litigating that dispute. For now, it is enough that Food Lion has

plausibly alleged legally cognizable antitrust injury based on the likelihood of higher

prices through input foreclosure. See, e.g., Sprint Nextel Corp. v. AT & T Inc., 821 F.

Supp. 2d 308, 321 (D.D.C. 2011) (mobile wireless carriers sufficiently pled antitrust

injury by alleging that a AT&T/T-Mobile would be able to coerce exclusionary deals

from suppliers of wireless devices, who would then refuse to sell those devices to carriers

like plaintiffs); see also DOJ & FTC, Vertical Merger Guidelines, Example 2 (2020)

(“Vertical Merger Guidelines”), available at https://www.ftc.gov/system/files/documents/

reports/us-department-justice-federal-trade-commission-vertical-merger-guidelines/

vertical _merger_guidelines_6-30-20.pdf.

       Finally, DFA’s recycled claims of speculative injury as applied to Food Lion

repeat its misstatement of the legal standard. The harm to Food Lion may occur in the

future, as it does in all Section 16 cases, but that does not render it speculative. As the


milk is “not sustainable,” and that “many MDVA farmers will be forced to leave MDVA
and join DFA.” Compl. ¶¶115-16; see also id. ¶¶73-78. The Complaint further alleges
that DFA will wait until it has sufficiently weakened MDVA before taking advantage of
its power to raise raw-milk prices (id. ¶117), just as it waited until it had capacity to supply
Dean’s plants, and until the prior class litigation was over, to exercise its right to kick
MDVA out of the Dean plants beginning in 2015. Id. ¶¶59-62.
                                             - 10 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 12 of 26
Supreme Court has recognized, the injury analysis in every Section 16 case requires

“prediction,” Phila. Nat’l Bank, 374 U.S. at 362, and this one is no different. If DFA

wishes to contest Plaintiffs’ predictions, it may do so. But not on a motion to dismiss.

       D. DFA’s Antitrust Injury Arguments Would Render the Clayton Act
          Useless.

       To put DFA’s motion in context, it is important to highlight that DFA is

essentially claiming that the Asset Sale is immune from antitrust scrutiny by private

parties. Indeed, in order to push the deal through, DFA and Dean successfully convinced

the bankruptcy court that it should neither consider the antitrust aspects of the Asset Sale

nor lift the automatic stay of bankruptcy for Plaintiffs to pursue this case before the

transaction closed. In so doing, both DFA and Dean repeatedly emphasized that

Plaintiffs “remain[ed] free to pursue” their antitrust claim as well as “the very same

divestiture remedy” after the Asset Sale closed. 7 Ultimately, the parties entered into a

stipulation approved by the bankruptcy court preserving Plaintiffs’ rights “to challenge

the Sale Transaction under the antitrust laws.” Compl. ¶93.

       Now, however, DFA takes the opposite position, arguing that this Court lacks

even subject matter jurisdiction to hear the case. Br. at 7. To do so, DFA is forced to

take the extreme position that neither a competitor nor a customer has standing to assert

their claims. But, if neither competitors nor customers have standing, and others in the

supply chain are even more remote, then the natural consequence of DFA’s position is



       7
        See, e.g., In re Southern Food Grps., No. 19-36313 (Bankr. S.D. Tex.) (“Bankr.
Dkt”), ECF No. 1804, at 10.
                                            - 11 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 13 of 26
that no private party has standing to challenge the Asset Sale. This argument directly

contradicts the plain language of the Clayton Act and undermines its aim of empowering

a private party to have its day in court to arrest an anti-competitive acquisition in its

incipiency, thereby furthering the public interest.

II.    DFA’S GENERALIZED ATTACKS ON VERTICAL MERGER
       CHALLENGES HAVE NO PLACE IN A RULE 12(B) MOTION.

       DFA eventually resorts to an abstract and highly generalized attack on all vertical

merger challenges and seems to be asking the Court, on a motion to dismiss no less, to

accept that all vertical mergers are pro-competitive. Br. at 12-13. The Supreme Court,

however, has never adopted such an extreme view. To the contrary, in Brown Shoe, the

Supreme Court held that a vertical merger presenting far less extreme circumstances than

the Asset Sale violated the antitrust laws.

       In Brown Shoe, the nation’s fourth-largest shoe manufacturer sought to merge with

the nation’s largest independent chain of family shoe stores. Id. at 331. In declaring the

merger unlawful, the Court relied on both the sizeable market share foreclosed to

competing manufacturers by the sale and the trend toward concentration in the industry.

Id. As here, the industry had been for years consolidating as a “result of deliberate

policies of Brown and other leading shoe manufacturers,” which caused the “acquiring

manufacturers to become increasingly important sources of supply for their acquired

outlets.” Id. at 332. Against this backdrop, the Court was troubled by the manufacturer’s

historic practice of “forcing its own shoes upon its retail subsidiaries” and determined




                                              - 12 -



      Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 14 of 26
that the merger was clearly designed to allow the manufacturer to do the same with the

nation’s largest shoe retailer. Id. at 332-34.

       Plaintiffs’ case is even stronger than Brown Shoe. While many of the same factors

are present here—decades of consolidation (Compl. ¶¶68, 134), significant barriers to

entry (id. ¶¶129-34), an intent to foreclose competition by securing exclusive supply

rights to downstream outlets (id. ¶44), and a history of doing same (id. ¶¶61-62)—the

amount of permanent market foreclosure here far exceeds that deemed problematic in

Brown Shoe. At the time of the Asset Sale, DFA was already an industry behemoth, far

larger in size and market share than the manufacturer in Brown Shoe. Id. ¶¶33, 65. DFA

has now grown even bigger and secured control over a majority of both the raw and

processed milk markets. Indeed, the Complaint alleges that MDVA will be foreclosed

from over half of the market—a far greater “clog on competition” than the Court was

concerned about in Brown Shoe or the other cases cited by DFA. 8

       DFA has no answer to this. It cannot distinguish Brown Shoe and therefore has

not deigned to try. Instead, DFA ignores it, trying to distract the Court’s attention with

broad-based attacks on vertical mergers and false statements about DOJ enforcement

priorities. 9 Br. at 13. To be clear, Plaintiffs do not dispute that some vertical mergers are



       8
         A degree of foreclosure greater than 50% is far more than in any of the cases cited
by DFA, including Alberta Gas (3% foreclosure) and Freuhauf (5.8%), and is
presumptively sufficient foreclosure. See Microsoft, 253 F.3d at 70.
       9
         Notably, since DFA filed its motion, DOJ and FTC issued new guidelines, see
Vertical Merger Guidelines, supra p.10, reflecting their continued emphasis on vertical
merger enforcement. See also S. Salop & D. Culley, Vertical Merger Enforcement Actions:
1994–April 2020, available at https://scholarship.law.georgetown.edu/facpub/1529
                                            - 13 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 15 of 26
pro-competitive, but—as Brown Shoe proves—some are also anti-competitive. This is

why this case needs to be litigated: to determine, based on the facts and expert evidence

presented, whether the Asset Sale is pro- or anti-competitive. Trials, not motions to

dismiss, are the appropriate venues for such determinations.

III.    “FAILING COMPANY” IS AN AFFIRMATIVE DEFENSE THAT IS NOT
        SUITABLE FOR DETERMINATION ON THE PLEADINGS.

        Once presented as DFA’s primary argument—indeed, its silver bullet—DFA’s

“failing company” argument has now been relegated to an afterthought. And rightfully

so. DFA’s “failing company” argument is an affirmative defense upon which DFA bears

the burden of proof, see United States v. Gen. Dynamics Corp., 415 U.S. 486, 507 (1974),

and is inappropriate for determination on a motion to dismiss.

        The Supreme Court, moreover, has emphasized that the defense has a “narrow

scope.” Citizen Pub. Co. v. United States, 394 U.S. 131, 139 (1969). To establish the

defense, DFA must show that (1) Dean faced “a grave probability of a business failure”;

(2) Dean’s prospects for reorganization in bankruptcy were “dim or nonexistent”; and (3)

Dean “tried and failed to merge with a company other than the acquiring one.” Steves &

Sons v. JELD-WEN, Inc., 290 F. Supp. 3d 507, 511-12 (E.D. Va. 2018) (internal citations

omitted). For the third element, DFA must typically show that it was “the only available

purchaser” and that Dean did not have alternative offers that “pose a less severe danger to




(detailing 66 vertical merger challenges since 1994, including several divestiture orders
obtained over the past two years).
                                          - 14 -



       Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 16 of 26
competition.” Id. at 512 n.2 (quoting DOJ & FTC, Horizontal Merger Guidelines § 11

(2010) (“Horizontal Merger Guidelines”)).

       Given these strict requirements, the failing company defense “rarely succeeds.”

Id. at 512 (quoting P. Areeda & H. Hovenkamp, Antitrust Law 951e (4th ed. 2016)). The

chances of success, moreover, are far bleaker on a motion to dismiss. Indeed, DFA is

unable to cite a single case that has ever granted a motion to dismiss based on the

defense. 10 This is because any evaluation of the defense is necessarily a complex, fact-

intensive exercise, requiring findings as to the viability of reorganization, the extent of

the search for other purchasers (and attempts to stifle such offers), the existence and

earnestness of alternative purchasers, and the comparative competitive effects of

alternative purchasers. It is unsurprising, therefore, that courts typically view this issue

as more properly suited for trial. See, e.g., United States v. Diebold, Inc., 369 U.S. 654,

655 (1962) (material questions of fact existed as to whether defendant “was the only bona

fide prospective purchaser for [the company’s] business”); U.S. Steel Corp. v. F.T.C., 426

F.2d 592, 606-10 (6th Cir. 1970).

       DFA, moreover, has not—and cannot in the context of this motion—establish the

elements of the defense. As an initial matter, a bankruptcy alone is insufficient to



       10
         None of the cases cited by DFA were decided on motions to dismiss. See Cal. v.
Sutter Health Sys., 130 F. Supp. 2d 1109, 1133 (N.D. Cal. Jan. 29, 2001) (relying on four
days of evidentiary hearings, expert reports, and proposed findings of fact, including
regarding the company’s three-year search for purchasers); United States v. Culbro Corp.,
504 F. Supp. 661, 668-69 (S.D.N.Y. 1981) (relying on evidentiary hearing, declarations,
and depositions bearing on the defense, including that “no other offer to invest in [the
company] ... has been made by any responsible source”).

                                            - 15 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 17 of 26
establish a failing company defense. See Culbro, 504 F. Supp. at 668 (“mere insolvency

of a company or its seeking refuge in a bankruptcy court does not by itself” establish

defense). The purpose of a bankruptcy court’s review is far different from a district court

reviewing a transaction for antitrust concerns, 11 which is precisely why the bankruptcy

court here expressly carved out the antitrust questions. See Compl. ¶¶92-94. It is

therefore misleading for DFA to suggest that the bankruptcy court “made factual findings

that establish the required elements” of the defense. Br. at 18. In fact, the bankruptcy

court never discussed the failing company defense, let alone conducted any analysis of its

elements, or determined whether there were alternatives available that would have solved

the antitrust concerns. It left those questions to this Court.

       As to the elements of the defense, DFA does not even attempt to address the

complex factual inquiries bearing on the viability of Dean reorganizing under Chapter 11.

See U.S. Steel Corp., 426 F.2d at 609 (relevant factors included company’s long-term

contracts, goodwill and reputation, equity interests, and merger history). Debtors

regularly pursue a dual-track exploration of bids and restructuring, and there are

indications that Dean did so here. See Bankr. Dkt. 46, Decl. of Gary Rahlfs, ¶¶5-6 (Dean

was “explor[ing] all alternative options for a stand-alone restructuring”); Bankr. Dkt.


       11
          A bankruptcy court assesses whether an asset sale “constitutes valid and sound
exercise of the Debtors’ business judgment.” Defs’ Ex. D, ECF No. 30-4, at 7. Here, the
court found that DFA submitted the “highest and best offer” and presented “the best
opportunity to maximize and realize the value of the Acquired Assets for the benefit of the
Debtors and their estates,” id., not that DFA made the only offer. This is not the same as
a finding that there was no viable restructuring or alternative purchaser of the Dean assets.
Cf. United States v. Energy Solutions, 265 F. Supp. 3d 415, 446 (D. Del. 2017).

                                            - 16 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 18 of 26
1069 (Dean noteholders objecting to bid procedures due to feasibility of a stand-alone

restructuring). The bankruptcy court made no findings regarding Dean’s ability to

reorganize for purposes of the failing company defense, however, and it is thus of no help

to DFA in establishing this critical element.

       Nor do DFA’s fragmented cites to the bankruptcy record establish that DFA was

“the only available purchaser” of Dean’s assets. To the contrary, there were alternative

bidders for fifteen plants ultimately sold to DFA, including MDVA’s bid for one of the

Carolinas plants. Compl. ¶¶87, 89; Bankr. Dkt. 1270, Notice of Bid Results, at 2.

Borden later proposed to purchase up to fifty-five Dean facilities to help address the

antitrust concerns raised by Plaintiffs and others. See Bankr. Dkt. 1750, Resp. to Emer.

Mot. ¶47. While DFA argues that it was the only bid for the “vast majority” of Dean’s

assets, there is no “vast majority” exception under the failing company defense. The

relevant antitrust inquiry is whether there was an alternative purchaser for one or more of

the Carolinas plants that would have solved the antitrust concern. There was. To the

extent DFA claims that these alternative purchasers were not bona fide, additional fact

finding would at best be required for DFA to prove the lack of alternative bidders. See

Dr. Pepper/Seven-Up Cos. v. F.T.C., 991 F.2d 859, 866 (D.C. Cir. 1993).

       Notably, the Complaint also alleges that DFA and Dean proceeded in a way that

deterred and disadvantaged other potential purchasers, including DFA’s insistence on an

all-or-nothing bid and refusing to disclose its valuation of each plant. Compl. ¶88. See

also Bankr. Dkt. 1069, Noteholders Obj. to Bid Procedures, ¶3 (“[A]t every turn the

Debtors have maintained a myopic focus on selling their assets to DFA and rebuffed or

                                           - 17 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 19 of 26
hindered the Ad Hoc Group’s efforts to prepare a plan-based restructuring alternative to

the DFA sale.”). Myriad factual questions exist regarding whether DFA strategically

manipulated the bid process and the prospects of reorganization and alternative

purchasers absent such tactics.

       Finally, the “failing company” defense only applies to Section 7 claims, not to

attempted monopolization claims. ABS Global, Inc. v. Inguran, LLC, No. 14-503, 2016

WL 3963246, at *19 n.12 (W.D. Wis. July 21, 2016). Even if DFA were later to prevail

on this defense, therefore, it would not result in dismissal of the case.

IV.    PLAINTIFFS ALLEGE A PLAUSIBLE GEOGRAPHIC MARKET.

       DFA’s final argument for dismissal is that Plaintiffs’ alleged geographic market is

implausible. This argument ignores both the applicable legal standard and the allegations

in the Complaint. The Fourth Circuit has held that “market definition is a question of

fact.” E.I. DuPont de Nemours & Co. v. Kolon Indus., 637 F.3d 435, 442 (4th Cir. 2011)

(collecting cases). As such, “dismissal of an antitrust claim for failure to adequately

plead the relevant market can be problematic,” because determining a geographic market

“is a fact-intensive exercise centered on the commercial realities of the market and

competition.” Id. (citing Eastman Kodak Co. v. Image Tech. Servs., 504 U.S. 451, 453

(1992)).

       A plausible geographic market is one “within which the defendant’s customers

who are affected by the challenged practice can practicably turn to alternative supplies if

the defendant were to raise its prices or restrict its output.” Id. at 441. Relevant

commercial realities bearing on this analysis include consideration of myriad facts such

                                            - 18 -



      Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 20 of 26
as “where the parties market their products; the size, cumbersomeness, and perishability

of the products; regulatory requirements impeding the free flow of competing goods into

or out of the area; shipping costs and limitations; the area within which the defendant and

its competitors view themselves as competing; and other factors bearing upon where

customers might realistically look to buy the product.” Id. at 442-43.

       Because this complex factual analysis is required, “dismissals at the pre-discovery,

pleading stage remain relatively rare and are generally limited to certain types of ‘glaring

deficiencies,’ such as failing to allege a relevant market.” Id. at 444 (quoting Allen v.

DFA, 748 F. Supp. 2d 323, 339 (D. Vt. 2010)). The cases cited by DFA fall into this

narrow category of glaring deficiencies. See, e.g., Shred-It Am. v. MacNaughton, No. 10-

547, 2011 WL 1842997, at *5 (D. Haw. May 13, 2011) (“Shred-it devoted merely seven

words of its thirty-two page complaint to defining the relevant market. ... [T]he complaint

is utterly devoid of any explanation or elaboration to support this contention.”). 12

       There are no glaring deficiencies here. Plaintiffs have followed a well-established

methodology for identifying the relevant geographic market, grounded in facts

concerning the commercial and competitive landscape that are presumed true for

purposes of this motion. Courts evaluate a geographic market based on whether a


       12
          See also Downeast Builders & Realty v. Essex Homes Se., No. 11-cv-2653, 2012
WL 2572204, at *4 (D.S.C. July 3, 2012) (market “served by Essex” did not address
competitors); Little Rock Cardiology Clinic v. Baptist Health, 573 F. Supp. 2d 1125, 1150
(E.D. Ark. 2008) (market of city limits was based on where “defendant’s customers
actually go for services, not where the customers could practically turn for services”);
Davies v. Genesis Med. Ctr., 994 F. Supp. 1078, 1100 (S.D. Iowa 1998) (market
surrounding a hospital did not address where customers “could reasonably turn for
alternative care”).

                                            - 19 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 21 of 26
hypothetical monopolist controlling all facilities therein could impose a “small but

significant non-transitory increase in price” (“SSNIP”), without causing enough

customers to turn to sources outside the market as to make the SSNIP unprofitable. See

F.T.C. v. Sanford Health, 926 F.3d 959, 963 (8th Cir. 2019); F.T.C. v. Advocate Health

Care Network, 841 F.3d 460, 468-71 (7th Cir. 2016). In implementing the test, the use of

a facility- or supplier-based market, such as the Complaint alleges here, has long been

approved and encouraged. See Advocate, 841 F.3d at 466 (approving expert conclusion

“that the area around the eleven hospitals is a relevant geographic market”); Horizontal

Merger Guidelines § 4.2.1 (Geographic Markets Based on Location of Suppliers)

(offering example of market “defined around the plants in City X”).

       The Complaint defines the relevant geographic market by reference to the milk

processing plants in the Carolinas. See Compl. ¶21. Plaintiffs describe physical

geographic features (id. ¶23), transportation and perishability concerns (id. ¶¶22-24), and

a government policy (id. ¶77) making it difficult for milk to travel far distances from or

to these plants. Plaintiffs also address the state of competition (id. ¶¶25, 64-85) and

barriers to entry (id. ¶¶129-34). They allege that, due to these market features, producers

and customers could not practically turn to more distant sources if a hypothetical

monopolist imposed a SSNIP. Id. ¶¶26-27. This is more than enough to survive a

motion to dismiss. Cf. E.I. DuPont, 637 F.3d at 444-47; K-Flex, Inc. v. Armacell, Inc.,

299 F. Supp. 3d 730, 735 (E.D.N.C. 2017).




                                           - 20 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 22 of 26
       While DFA pokes at the edges of Plaintiffs’ market definition, 13 decades of

antitrust jurisprudence make clear that markets “need not—indeed cannot—be defined

with scientific precision.” United States v. Conn. Nat’l Bank, 418 U.S. 656, 669 (1974);

see also United States v. Pabst Brewing Co., 384 U.S. 546, 549 (1966) (antitrust law does

not require “delineation of a ‘section of the country’ by metes and bounds as a surveyor

would lay off a plot of ground”). DFA will have more than enough opportunity to make

these arguments at trial, and the court will have the benefit of a fuller record to help make

a concrete determination. But, once again, DFA is asking the court to ignore the standard

of review and make a factual determination on a motion to dismiss.

       Finally, DFA argues that it is “insincere” for Food Lion to allege a geographic

market narrower than in In re Southeastern Milk Antitrust Litigation. This is not a legal

argument, as no authority prohibits plaintiffs from alleging different markets in different

circumstances, or even from alleging geographic submarkets. See Brown Shoe, 370 U.S.

at 336; Oberweis Dairy v. Assoc. Milk Prods., 553 F. Supp. 962, 969 (N.D. Ill. 1982)

(geographic market shrunk from entire Midwest in first action to only Chicago in

second). Southeastern Milk was based on completely different facts and legal theories



       13
          For example, DFA claims that it is common for milk to move between plants in
the Carolinas and parts of Virginia and Georgia and accuses Plaintiffs of pretending that
“Georgia and Virginia do not exist.” Expressly included in Plaintiffs’ geographic market,
however, are “dairies and cooperatives to which these plants may reasonably turn for
supply of raw milk for these facilities” and “customers of processed milk ... that can
reasonably turn to these facilities for the purchase of processed milk.” Compl. ¶21.
Plaintiffs do not dispute that some producers and customers who fall within these
parameters will likely be located in Virginia and Georgia, and that is entirely consistent
with their market definition.

                                           - 21 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 23 of 26
than those outlined in the Complaint, and the conduct at issue there necessarily affected

the contours of the current market, as it now exists twenty years later. The Complaint

plausibly alleges a geographic market, according to today’s market dynamics,

encompassing the three Carolinas plants and their regional competitors. To the extent

DFA believes there is inconsistency, this would be a proper subject for cross-examination

at trial, not the basis for a motion to dismiss.

                                       CONCLUSION

       For the foregoing reasons, DFA’s motion to dismiss should be denied.




                                             - 22 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 24 of 26
Date: July 7, 2020                 Respectfully submitted,

                                   HUNTON ANDREWS KURTH LLP

                                   s/ Ryan G. Rich
                                   A. Todd Brown, Sr., N.C. State Bar No. 13806
                                   Ryan G. Rich, N.C. State Bar No. 37015
                                   101 South Tryon Street, Suite 3500
                                   Charlotte, North Carolina 28280
                                   Telephone: (704) 378-4700
                                   tbrown@huntonak.com
                                   rrich@huntonak.com

                                   Ryan P. Phair (admitted pro hac vice)
                                   John S. Martin (admitted pro hac vice)
                                   Kevin Hahm (admitted pro hac vice)
                                   Carter C. Simpson (admitted pro hac vice)
                                   2200 Pennsylvania Avenue, NW
                                   Washington, DC 20037
                                   Telephone: (202) 955-1500
                                   rphair@huntonak.com
                                   martinj@huntonak.com
                                   khahm@huntonak.com
                                   csimpson@huntonak.com

                                   Attorneys for Food Lion, LLC

                                   TROUTMAN SANDERS LLP

                                   s/ Jason D. Evans
                                   Jason D. Evans, N.C. State Bar No. 27808
                                   301 S. College Street, 34th Floor
                                   Charlotte, NC 28202
                                   Telephone: (704) 916-1502
                                   jason.evans@troutman.com

                                   James A. Lamberth (admitted pro hac vice)
                                   600 Peachtree Street, NE, Suite 3000
                                   Atlanta, GA 30308
                                   Telephone: (404) 885-3362
                                   james.lamberth@troutman.com

                                   Attorneys for Maryland and Virginia Milk
                                   Producers Cooperative Association, Inc.



                                    - 23 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 25 of 26
                            CERTIFICATE OF COMPLIANCE

        Pursuant to Local Rule 7.3(d)(1), the undersigned certifies that the word count for the
foregoing memorandum does not exceed 6,250 words. The word count excludes the case
caption, signature lines, cover page, and required certificates of counsel. In making this
certification, the undersigned has relied upon the word count of the word-processing system used
to prepare the brief.

       This the 7th day of July, 2020.

                                            /s/ Ryan G. Rich
                                                Ryan G. Rich




                                             - 24 -



     Case 1:20-cv-00442-CCE-JLW Document 41 Filed 07/07/20 Page 26 of 26
